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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                           §    Chapter 11
                                                 §
ALEXANDER E. JONES                               §    Case No. 22-33553
                                                 §
          Debtor.                                §
                                                 §

         GLOBAL NOTES AND SUPPORTING INFORMATION REGARDING FIRST
                     AMENDED SCHEDULES OF ASSETS AND
              LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

       On December 2, 2022 (the “Petition Date”), Alexander E. Jones (the “Debtor”) filed a
voluntary petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the Southern District of Texas, Houston Division
(the “Bankruptcy Court”).

       With the assistance of his Bankruptcy Court approved financial and legal advisors, the
Debtor prepared the original Schedules and Statement of Financial Affairs filed on February 14,
2023 at Docket Numbers 130 and 131. On the date below, the Debtor filed his annexed First
Amended Schedules of Assets and Liabilities (the “Schedules”) and the First Amended Statement
of Financial Affairs (the “SOFA”) and combined, the “Schedules and SOFAs”), pursuant to
Section 521 of the Bankruptcy Code and Rule 1007 of the Federal Rules of Bankruptcy Procedure.
The Schedules and SOFAs are unaudited and do not purport to represent financial statements
prepared in accordance with Generally Accepted Accounting Principles in the United States
(“GAAP”), and they are not intended to be fully reconciled to any financial statements.

        Although the Debtor’s advisors and the Debtor have made every reasonable effort to ensure
that the Schedules and SOFAs are accurate and complete based on information that was available
to them at the time of preparation, subsequent information or discovery may result in material
changes to these Schedules and SOFAs, and inadvertent errors or omissions may have occurred.
Subsequent receipt of information or an audit may result in material changes in financial data
requiring amendment of the Schedules and SOFAs. These notes regarding the Debtor’s Schedules
and SOFAs (the “Notes”) comprise an integral part of the Debtor’s Schedules and SOFAs and
should be referenced in connection with any review of the Schedules and SOFAs. Nothing
contained in the Schedules and SOFAs shall constitute a waiver of any rights or claims of the
Debtor against any third party, or in or with respect to any aspect of this chapter 11 case.

        Compiling the information necessary to complete the Schedules and SOFAs for this
individual debtor was incredibly difficult due to the lack of books and records in any single place.
Multiple individuals assisted the Debtor in paying his bills and household expenses, but no budget
existed and no bookkeeper reconciled any bank statements. Bank accounts were used by or on
behalf of the Debtor by third parties due to his status as a controversial public media personality.




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      1.        Amendments. The Debtor reserves the right to amend or supplement the
Schedules and SOFAs as necessary or appropriate.

        2.        Asset Presentation. Most assets and liabilities of the Debtor are fair market
value as of December 2, 2022; provided, however, that some adjustments have been made when
the information was available subsequent thereto. When another source or method was used, all
attempts have been made to notate such source or method. The Debtor reserves his right to amend
or adjust the value of each asset or liability set forth herein.

        3.         Liabilities. The Debtor sought to allocate liabilities between the prepetition and
postpetition periods based on the information and research that was conducted in connection with
the preparation of the Schedules and SOFAs. As additional information becomes available and
further research is conducted, the allocation of liabilities between prepetition and postpetition
periods may change. The Debtor also reserves the right to change the allocation of liability to the
extent additional information becomes available.

        4.          Causes of Action. Despite reasonable efforts, the Debtor may not have identified
or set forth all of its causes of action against third parties as assets in his Schedules and SOFAs.
The Debtor reserves any and all of his rights with respect to any causes of action he may have, and
neither these Notes nor the Schedules and SOFAs shall be deemed a waiver of any such causes of
action.

        5.         Claim Description. Any failure to designate a claim on the Schedules or SOFAs
as “disputed,” “contingent” or “unliquidated” does not constitute an admission by the Debtor that
such claim is not “disputed,” “contingent” or “unliquidated.” The Debtor reserves the right to
dispute, or to assert offsets or defenses to, any claim reflected on his Schedules and SOFAs as to
amount, liability, priority, secured or unsecured status, or classification, or to otherwise designate
any claim as “disputed,” “contingent” or “unliquidated” by filing and serving an appropriate
amendment. The Debtor also reserves the right to amend his Schedules or SOFAs as necessary or
appropriate.

        6.          Property and Equipment. A third-party appraisal company has completed a
physical inventory or appraisal of all of his owned equipment household goods, jewelry, and other
physical assets located at his homestead and lake house and such values are described and
contained in these Schedules. Nothing in the Schedules or SOFAs (including, without limitation,
the failure to list leased property or equipment as owned property or equipment) is or shall be
construed as an admission as to the determination of legal status of any lease (including whether
any lease is a true lease or financing arrangement), and the Debtor reserves all of his rights with
respect to such issues.

        7.         Insurance. The Debtor has, in the past, maintained a variety of insurance policies
including property and life. The Debtor’s interest in these types of policies is limited to the amount
of the premiums that the Debtor has prepaid, if any, as of Petition Date. To the best of the Debtor’s
knowledge, no such prepayments exist. The Debtor reserves all rights to refunds of any
overpayments of premiums paid on any insurance policies. In addition, the Debtor believes there
is no cash value in such policies.




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        8.       Insiders. In the circumstances where the Bankruptcy Schedules require
information regarding insiders, the listing of a party as an insider is not intended to be nor should
it be construed as a legal characterization of such party as an insider and does not act as an
admission of any fact, claim, right or defense and all such rights, claims and defenses are hereby
expressly reserved. Further, employees have been included in this disclosure for informational
purposes only and should not be deemed to be “insiders” in terms of control of the Debtor,
management responsibilities or functions, decision-making or apparent or actual authority or as
otherwise defined by applicable law, including, without limitation, the federal securities laws, or
with respect to any theories of liability or for any other purpose.

        9.       Statement of Financial Affairs 19(d) – Financial Statements. The Debtor has tried
to remember all financial institutions, creditors and other parties to whom a financial statement
was issued within two years immediately preceding the Petition Date. The Debtor reserves his
rights to subsequently supplement or amend Statement 19d upon discovery of additional
information.

         10.      Specific Notes. These General Notes are in addition to the specific notes set forth
in the individual Schedules and SOFAs. Disclosure of information in one Schedule, SOFA, exhibit,
list, or continuation sheet even if incorrectly placed, shall be deemed to be disclosed in the correct
Schedule, SOFA, exhibit, list, or continuation sheet.

        11.    Totals. All totals that are included in the Schedules represent totals of the
liquidated amounts for the individual schedule for which they are listed.

       12.      Unliquidated Claim Amounts. Claim amounts that could not be fairly quantified
by the Debtor are scheduled as “unliquidated” or “unknown.”

        13.     General Reservation of Rights. The Debtor specifically reserves the right to
amend, modify, supply, correct, change or alter any part of his Schedules and SOFAs as and to the
extent necessary as he deems appropriate.

       14.       Specific Notes.

   •   Schedule A/B: Property – Part 1 – Residence
          o Part 1.0: Home Residence (homestead)
                 ▪ Zillow Zestimate – current 100% value $3,266,000.
                        • Current value of the portion you own: per pre-nuptial agreement,
                            Alexander E. Jones (“AEJ”) and his wife each own 50% of
                            residence or $1,633,000.
                        • Currently deed records show 100% in wife’s name due to
                            administrative error but wife’s attorney is working to correct error.
          o Part 1.2: Rental Property
                 ▪ Located in SE Austin
                 ▪ Zillow Zestimate – current value $505,000.
                 ▪ 15-year + tenant, lease is a verbal month-to-month.
                 ▪ Tenant performs & has never had rent adjusted.


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              ▪   Tenant pays $1,200 per month plus maintenance, upkeep and part-time IT
                  work for AEJ and Free Speech Systems, LLC (“FSS”).
              ▪ The mortgage is $1,649.
              ▪ Pays in cash & deposited into PNC DIP depository account (current)
              ▪ David Jones was seller (05/15/2015) and is co-mortgagee.
       o Part 1.3: Lake House - located on Lake Travis
              ▪ Appraised value of $1,750,000 as of 10/17/2022 by Wheeler Appraisal,
                  LLC prepared for Jordan & Ortiz, P.C.
              ▪ Lake house was purchased in 2015.
       o Questions regarding condominiums per initial filing:
              ▪ Condo # 3 – Purchased June 7, 2017, from Grantor, Jeffrey R Skipper &
                  Delee D. Skipper by David Jones solely as the trustee of Alexander E
                  Jones Descendant and Beneficiary Trust (Grantee).
              ▪ Condo # 5 – AEJ conveyed to RCGJ, LLC (March 18, 2016), RCGJ, LLC
                  conveyed to Alexander E Jones Descendant and Beneficiary Trust (June
                  30, 2017).
              ▪ Condo # 6 – Purchased February 25, 2016 (original deed) from 3504
                  Clawson Road, LLC (seller) by RXXCTTGAA Trust (corrected deed filed
                  on April 25, 2016).
              ▪ Insurance being paid by AEJ; will be transferred for owner to pay all
                  future payments.
•   Schedule A/B: Property – Part 2 – Vehicles
       o 3.0: Cars, vans, trucks, sport utility vehicles, motorcycles
              ▪ 3.1: 2017 Ford Expedition (good condition)
                      • Kelly Blue Book value of $21,463 as of 02/07/23
              ▪ 3.2: 2019 Dodge Challenger (Hellcat Redeye) (good condition)
                      • Kelly Blue Book value $67,575 as of 02/07/23
              ▪ 3.3: 2020 Dodge Charger (Hellcat) (good condition)
                      • Kelly Blue Book value $70,618 as of 02/07/23
              ▪ 3.4: 2020 Chevrolet Tahoe (added) (good condition)
                      • Initially believed this vehicle was leased; subsequently discovered
                          lease was purchased/paid off.
                      • Kelly Blue Book value of $60,034 as of 03/08/23
                              o Mileage – 34,734
                              o Vin # 1GNSCCKJ5LR294493

•   Schedule A/B: Property – Part 2 – Boats & trailers (slip #’s 1C73, 1A80, TR007, &
    1A11)
              ▪ 4.1: 2016 Regal Boat 28 Express & 2003 Ezloader Trailer and Glastronbo
                  GS229.
                     • JD Power value of $67,015 as of 02/07/23 (includes trailer)
                     • Stored in marina stack system – Lake Travis
              ▪ 4.2: 2015 Regal Boat 24 Fasdeck & 2015 Magnum Trailer


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                       • JD Power value $47,285 as of 02/07/23 (includes trailer).
                       • Store in marina stack system – Lake Travis
               ▪   4.3: 2003 Glastron 22 foot boat Model GS209
                       • Stored in marina stack system – Lake Travis
                       • Possession was taken by Patrick Reilly seven years ago, but boat
                          remains registered in AEJ’s name and located in AEJ’s slip.
                       • Value of $23,500 according to boatcrazy.com

•   Schedule A/B: Property – Part 3 – Personal and Household Items
       o 6 – 9 & 11
              ▪ Appraisal performed March 9, 2023, by ValuePros LLC – total value of
                  household goods located in homestead is $69,197
              ▪ Located two additional watches after appraisal
                     • Omega 300 CO-Axial – value of $2250 per wholesale jeweler
                     • Tag Heuer Autavia – value of $1000 per wholesale jeweler
       o 9. Equipment for sports and hobbies (3 electric bikes).
              ▪ Rhino (Zugo)
              ▪ Two (2) Bakcou
       o 10. Firearms
              ▪ Value by Mike Cargill of Central Texas Gun Works as of 02/22/23 in a
                  range of $62,089 (dealer value) – $89,606 (used retail value). After
                  appraisal was completed, found five additional guns in AEJ’s closet (three
                  revolvers, a pistol and a rifle) – per Cabella’s website, the value of each
                  new is valued at a total of $11,655.
              ▪ Total value of firearms is $73,744.
       o 13.0 Non-farm animals
              ▪ Ragdoll cat (approximately 2 years old) – valued at
                  $200.
       o 14.0 Cryoniq Cryogenic chamber – valued at $4,000 per
          conversations with President of the Company.
•   Schedule A/B: Property - Part 4 – Financial Assets.
       o 16.0 – $12,000.
       o 17.0 Deposits of Money
              ▪ 17.1 – 17.7
                     • 17.2 – no change
                     • 17.3 – no change
                     • 17.4 – no change
                     • 17.5 – no change
                     • 17.6 – no change
                     • 17.7 – no change
                     • 17.8 – no change
                     • 17.1 – added – Prosperity Bank # 9175 – $57,403.38


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   o 18.0 Bonds, Mutual funds or publicly traded stocks
         ▪ No publicly traded stocks, money market funds, bond funds
   o 19.0 Non-publicly traded stock and interests and unincorporated and
     unincorporated businesses, including an interest in an LLC, partnership, and joint
     venture.
         ▪ Free Speech Systems, LLC
               • Value $0, derived from schedules filed by FSS (case # 22-60043),
                   reflecting the value of liabilities greater than assets
               • Tax forfeiture on March 10, 2023


          ▪   AEJ Austin Holdings LLC
                 • Owns 80% of PLJR Holdings Limited, LLC which owns 90% of
                    PQPR Holdings Limited, LLC (“PQPR”), an effective 72%
                    ownership of PQPR
                 • Value of PQPR is undetermined
                 • Bank balance $10,000 – (Security Bank account #0940).
          ▪   Guadalupe County Land and Water LLC
                 • Ranch was transferred from Guadalupe County Land and Water
                    LLC (per appraisal) to 2022 Appeal Trust and thereafter to AEJ on
                    December 2, 2022 (listed elsewhere in these Schedules under farm
                    and ranch land).
                 • No other assets found.
          ▪   Magnolia Management LLC
                 • Formed in Alaska on November 16, 2007, to be the general partner
                    of Magnolia Holdings, Limited Partnership, also an Alaska entity
                    formed four days after.
                        o Owned 49% by AEJ and 51% by KJ as of formation.
                        o 100% ownership by AEJ in Divorce Decree entered March
                           17, 2015
                        o Involuntarily dissolved September 23, 2021
          ▪   Magnolia Management, LP
                 • Presumed to be an abbreviated reference to Magnolia Holdings
                    Limited Partnership (above)
                 • TX SOS – Shows several results like this name. Magnolia
                    Management is shown as a DBA of Alex Jones shown on one of
                    his Bank of America bank statements along with Jones Production
                    and Infowards [sic].
                 • Current rental property originally purchased by Dr. David Jones.
                    Alex Jones was added to mortgage when he purchased property in
                    2015 from Dr. David Jones.




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               •  Collections from rental went into Magnolia Management Bank of
                  America account but now go into PNC DIP depository account.
              • Mortgage on rental property is in name of David Jones and AEJ.
        ▪   Magnolia Holdings Limited Partnership
              • Formed in Alaska on November 20, 2007, to be the owner of
                  Prison Planet TV, LLC; Jones Report, LLC; and Infowars, LLC
                  (k/n/a/ InfoW, LLC)
                      o Owned 49.5% by AEJ and 49.5% by KJ as of formation.
                      o 100% ownership by AEJ in Divorce Decree entered March
                          17, 2015
                      o Involuntarily dissolved on May 9, 2020

        ▪   Jones Productions
               • Believed to be a misnomer of Jones Productions, LLC (below)
        ▪   Emric Productions LLC
               • Bank of America bank account with a balance of $485.27 in this
                   name
               • No entity by this name has been located
               • No other assets have been located as of the date hereof
        ▪   A. Emric Productions LLC
               • No bank accounts or other assets located as of the date hereof
               • Formed on May 10, 2007
               • Tax forfeiture occurred on January 28, 2011, over 12 years ago
        ▪   Jones Report, LLC
               • Received an assignment from AEJ for all copyrights, trademarks,
                   intellectual property associated with prisonplanet.com and
                   jonesreport.com on December 18, 2007
               • Tax Forfeiture March 10, 2023
               • Go Daddy Valuation as of March 2023 - $5,901.00
        ▪   Jones Productions, LLC
               • No bank accounts or other assets located as of the date hereof
               • Tax Forfeiture March 10, 2023
        ▪   Austin Shiprock Publishing, LLC (added)
               • Upon information and belief, AEJ owns 100% membership
                   interests and is manager – no operating agreement has been
                   located.
               • FSS received Travis County personal property tax bill rendering
                   reflecting a tax value of $1,354,474 of personal property owned by
                   this company but located at FSS’ location. This tax bill was paid
                   in 2002 by FSS.
               • No value is reflected due to the belief that this personal property is
                   or should be owned by FSS.


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        ▪   Planet Infowars, LLC (added)
               • Upon information and belief, AEJ owns 100% membership
                    interests and is manager – no operating agreement has been
                    located.
               • No bank accounts or other assets located as of the date hereof
               • Tax Forfeiture March 10, 2023
        ▪   RCGJ, LLC
               • No bank accounts or other assets located as of the date hereof
               • David Jones is manager
               • Unknown ownership


        ▪   AEJ Holdings, LLC
              • Cannot locate this entity – it appears to be a misnomer of AEJ
                  Austin Holdings LLC

        ▪   InfoW, LLC
                • Transferred into 2022 Litigation Settlement Trust.
                • Forfeited corporate existence dated March 10, 2023.
                • No ownership or control by AEJ.
                • Owns domains whatistheendgame.com, truthisnews.us,
                   Infowars.com, and Infowars.net valued at a total of $21,734 by Go
                   Daddy.
        ▪   IWHealth, LLC
                • Transferred into 2022 Litigation Settlement Trust.
                • Forfeited corporate existence dated March 10, 2023.
                • No ownership or control by AEJ.
                • Funds transferred by CRO of $45,000.
        ▪   Prison Planet TV, LLC
                • Transferred into 2022 Litigation Settlement Trust.
                • Believed to currently own prisonplanet.tv website which is valued
                   by Go Daddy at $201.
                • Forfeited corporate existence dated March 10, 2023.
                • No ownership or control by AEJ.
            The three entities above were transferred by Alex Jones to the 2022
            Litigation Settlement Trust in April 2022 in advance of their bankruptcy
            filings. The Trustee is Rob Dew. Mr. Dew is in the process of employing
            professionals to assist in determining how to carry out his fiduciary duties
            and interpret the 2022 Litigation Settlement Trust Agreement.

            Value - $66,935.00



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              One entity – End Hate Now, LLC formed in Nevada has an “Alex Jones”
              name associated with it; however, AEJ has no memory of this entity and
              upon information and belief it is not related to AEJ.

   o 22.0 Security Deposits and prepayments
         ▪ Pre-marital deposit - $179,764 from Security Bank on 11/08/22 AEJ’s
             account.
         ▪ $78,140 was made from The Missouri779384 Trust on 11/08/22 (catch up
             payment that ended up duplicated).
   o 26.0 Removing upon information and belief that such sites are owned by FSS due
     to payment therefore by AEJ’s American Express commonly reimbursed by FSS
   o 27.0 Licenses – An entry on AEJ’s tax return referenced “US Gym Patent.” After
     investigation, no such patent, nor any patent with AEJ as the author or applicant,
     could be found. Upon information and belief, this may relate to purchased gym
     equipment.
   o 28.0 Tax Refunds – Anticipated refund of $3,934,571 based on AEJ’s 2021 Form
     1040 that was filed March 29, 2023, potentially subject to setoff for current IRS
     claims.
   o 30.0 Other amounts someone owes you – amounts not paid by FSS under
     Employment Agreement.
   o 31.0 Interest in insurance policies
         ▪ Lincoln Benefits Life Insurance – Multiple requests for information made
             to insurance company for beneficiary information; no result as of the date
             hereof.
         ▪ CMFG Insurance – Ex-wife is listed as beneficiary, benefit is $375,000;
             policy requested and not received as of the date hereof.
   o 33.0 Claims against third parties
         ▪ Represented Debtor in Texas litigation; claim not valued currently.
   o 38.0 Accounts receivable or commissions you already owned
         ▪ Mountain Way Marketing, LLC; amount owed to Debtor for marketing &
             personal appearance fees as of the petition date, amount outstanding has
             since been collected and all funds returned to FSS.
         ▪ Elevated Solutions Group (“ESG”) – Prior to AEJ’s filing, ESG had an
             agreement with AEJ and a separate agreement with FSS to provide for the
             purchase, promotion and sale of Platinum products. Since the filing, FSS
             and AEJ have ceased doing business with ESG and future sales will be
             made through FSS.
   o 41.0 Inventory – AEJ purchased inventory (supplements) from Hi-Tech
     Pharmaceuticals, a dietary supplement industry leader in pre-workouts, diet &
     energy / weight loss, and strength & muscle building. Inventory cost was
     $760,854. Product was being marketed through a marketing agreement(s) with
     ESG and FSS.
         ▪ Originally marked “NO” Had no; revised to “YES”.



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       o 42.0 Interests in partnerships or joint ventures – please see entities under section
         19.
       o 49.0 Farm and fishing equipment
             ▪ Inoperable CAT Bulldozer – value $0, please see below picture.
             ▪ Inoperable Dump truck – value $0, please see below picture.




•   Part 6
        o 51.0 Any farm and commercial fishing related property you own or have an
           interest in.
               ▪ Appraisal as of 10/19/22 prepared by Henn & Associates $2,189,220
                   (originally showed 1,557,000)
               ▪ Appraisal prepared for Jordan & Ortiz, P.C.
               ▪ Transferred from Guadalupe Land and Water LLC as referenced above
•   Part 7
        o 53. Other property of any kind you did not already list


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              ▪   Access to Helicopter
                      • Non-transferable
                      • Initially in exchange for a one-time payment of $335,000 dated
                          03/03/2021 from FSS, check # 10635, AEJ jointly owned one (1)
                          helicopter with S&S 1165 Investment, LLC.
                      • When sold, AEJ rolled his proceeds into up to eight (8) trips per
                          year for a term of fifteen years.
              ▪ Alex Was Right (GiveSendGo) – valued at $915. GiveSendGo is a
                  Christian crowdfunding website founded in 2014. The website was
                  founded as a response to GoFundMe removing campaigns that they did
                  not agree with.
•   Schedule A/B: Property
       o 25.0 Continuation Page
              ▪ We have spoken to or reached out to no less than nine (9) attorneys to find
                  information on the following trusts along with asking UCC for any
                  information they have with no response from UCC on their asset searches.
                      • David Minton – Minton, Bassett, Flores & Carsey
                      • Stephen Lemmon – Streusand, Landon, Ozburn & Lemmon, LLP
                      • Elizabeth Morgan – Elizabeth Morgan & Associates
                      • Shelby Jordan – Jordan & Ortiz, P.C.
                      • Eric Taube – Holland & Knight
                      • Ray Battaglia – Ray Battaglia, PLLC
                      • Mike Cook – Cook Brooks Johnson PLLC
                      • H. Allen Hill, Jr. – The Law Office of H. Allen Hill, Jr.
              ▪ We have discussed trusts with the following non-attorneys.
                      • Alex Jones
                      • David Jones
                      • Bob Roe
              ▪ We have spoken to all the following Trustees of the trust’s as follows:
                      • RXXCTTGAA Trust – David Minton
                      • Green Leaf Trust – Alexander Jones & Kelly Jones (have not
                          spoken to [ex-wife])
                      • AEJ 2018 Trust – Alexander Jones
                      • The Missouri779384 Trust – David Jones
                      • Alexander E Jones Descendent and Beneficiary Trust – David
                          Jones
                      • 2022 Litigation Settlement Trust – Robert Dew Initial Trustee
                      • Recharge Dynasty Trust – Alexander E. Jones
              ▪ 25. Schedule A/B: Property
                      • Recharge Dynasty Trust (formed July 27, 2102) – value $0.
                              o Settlor – Alexander E. Jones and Kelly Rebecca Jones.
                              o Trustee – Alexander E. Jones.


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                       o Beneficiaries: Rex Alexander Jones, Charlotte Alexander
                           Jones and G. G. Jones, and any other descendants of the
                           Settlors born during the term of the trust.
                       o Security Bank Crawford closed its account due to Kelly
                           Rebecca Jones (Alex’s ex-wife) mis-appropriating funds
                           from bank account to pay for her legal fees and handed
                           David Jones a cashier’s check that he deposited into Alex’s
                           Prosperity account. David then had Prosperity Bank
                           (#9175) give him a cashier’s check dated December 12,
                           2022 for $29,935.66. Check was deposited into PNC DIP
                           depository account (#5233) on January 3, 2023 for
                           $29,935.66.
               •   2022 Litigation Settlement Trust (formed April 14, 2022) – Trustee
                   (Rob Dew) hiring counsel at our recommendation to help him
                   assess value and his fiduciary duties.
                       o Rights title and interest to:
                               ▪ InfoW, LLC. f/k/a Infowars, L.L.C.
                               ▪ IWHealth, LLC, f/k/a Infowars Health, L.L.C.
                               ▪ Prison Planet TV, LLC.
                               ▪ Trustee – Robert Dew
                       o Based upon cash owed to IWHealth, LLC and Go Daddy
                           values of domains owned by Prison Planet TV, LLC and
                           InfoW, LLC per GoDaddy, the value is $66,935.00
               •   Hutton Cabin Trust – Hutton Cabin Trust, formed in November
                   2009 by AJ and his ex-wife, revoked pursuant to the Divorce
                   Decree
               •   RXXCTTGAA Trust (formed June 1, 2015) – Owns Clawson
                   condo # 6
                       o Zillow Zestimate – current value $828,300 as of 03/15/23.
                               ▪ 3 bedrooms, 2.5 baths, 1,998 sf.
                       o Beneficiary – Alexander E. Jones while living.
               •   Green Leaf Trust (formed December 21, 2007) – $127,094
                   Security bank account.
                       o Alexander Jones & Kelly Jones [ex-wife] – co-trustees.
                       o Beneficiaries are children of AEJ: R. Jones, C. Jones and
                           G. Jones.
                       o Kelly Jones resigned as Trustee pursuant to Divorce Decree
                           in 2015.
               •   AEJ 2018 Trust (formed July 24, 2018) – $10,002 Security bank
                   account (# 0924).
                       o 100% owner of AEJ Austin Holdings LLC., which owns
                           90% of PLJR Holdings LLC which owns 80% of PQPR
                           Holdings Limited, LLC per 2020 tax returns.


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                         o Irrevocable Trust.
                         o Alexander E Jones is sole trustee and beneficiary.
                 •   The Missouri779384 Trust (formed May 9, 2018) – $54,519
                     Security bank account.
                         o Recipient of proceeds from sale of former Westlake Hills
                            home.
                                ▪ Original net sales proceeds went into trust from sale
                                    of home.
                         o Where majority of attorney retainers/fees paid from.
                 •   Alexander E. Jones Descendant and Beneficiary Trust Agreement
                     (formed March 28, 2017) – holds condo’s # 3 and 5.
                         o Zillow Zestimate # 3 – current value $804,100 as of
                            03/15/23.
                         o Zillow Zestimate # 5 – current value $767,400 as of
                            05/15/23.
                         o Grantor – Alexander E Jones.
                         o Trustee – David R. Jones.
                         o Beneficiaries - Rex Alexander Jones, Charlotte Alexandra
                            Jones, and G. G. Jones, and all other children born or
                            adopted by the Grantor after the date of the agreement.

                 •   G. Savings # 1154 (Texas Uniform Transfers to Minor Act
                     (UTMA)) – bank account styled – REMOVED, NOT A TRUST.
                 •   Rex Savings # 1156 (Texas Uniform Transfers to Minor Act
                     (UTMA)) – bank account styled – REMOVED, NOT A TRUST.
                 •   Charlotte Savings # 1152 (Texas Uniform Transfers to Minor Act
                     (UTMA)) – bank account styled – REMOVED, NOT A TRUST.

          ▪   Schedule C: The Debtor seeks to exempt particular personal property. The
              software utilized by Debtor’s counsel does not allow for one to pull out
              singular items a party wishes to exempt from the pre-prompted categories
              without redrafting the entirety of Schedule A/B Items 6-11, thus the
              Debtor will need to show the items he is exempting in these Notes. The
              Debtor will supplement with a formal Schedule C shortly.

      AEJ Personal Property Exemptions                Value Source

      Homestead household goods                      17,940   Per Appraisal
      Expedition                                     21,463   Kelly Blue Book
      Clothes                                           300   Per appraisal
      Cat                                               200   Internet search results
      Stacatto XC 9MM handgun                          2500   Internet search results
      Falcor Petra 300WinMag 22" rifle                 3000   4000 new


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             Tudor Genva Chronometer                         3000 Per Appraisal
             Tag Huer Aquaracer                              2000 Per Appraisal
                                        Total              50,403

             AEJ Homestead Exemption                 1,633,000.00 Zillow



                 ▪   Schedule F: Creditors who have unsecured claims.
                        • 4.2 removed American Express removed, was paid.
                        • Part 1 – Added Kelly Rebecca Jones as contingent, disputed, and
                           unliquidated creditor holding $0 claim.
                        • Part 2 4.19 – Added Security Bank Crawford as AEJ is a guarantor
                           on note, we are showing claim as $72,466.68 as of November 28,
                           2022.
                 ▪   Schedule H: Codebtors
                        • 3.1 – Added FSS as co-debtor to claimants listed on schedule F 4.1
                           – 4.18 and 4.20.
SOFA Form 107
  • Part 2
        o 4. Any Income from employment
              ▪ Have revised 2020 – $36,014,156 – From 2020 Form 1040
              ▪ Have added 2021 – $38,323,371 – From 2021 Form 1040
              ▪ Have added 2022 – $38,206,696 – Through 12/31/22 based on W-2’s,
                  1099’s and estimated financial statement for FSS and AEJ 2018 Trust
                  (pass through income). Information as of 12/02/22 was not readily
                  available.
        o 5. Did you receive any other income during this year.
              ▪ Have added rental income of $14,400 for the tax years 2020, 2021 and
                  2022.
  • Part 3
        o 6. Consumer debts
              ▪ Have removed Jordan, Shelby A. as $110,000 was a payment of
                  bankruptcy fees.
              ▪ Have revised Priority Paid payment of $104,190.78 after researching as
                  follows:
                      • $50,000 (+ $25 wire fee) – out going wire 10/17/2022. Bank is still
                          researching.
                      • $51,969.53 (+ $25 wire fee) – Synovus Bank – out going wire
                          11/07/2022. Bank is still researching.
                      • $20,000,00 – cashier’s check on 11/10/2022 from Security Bank to
                          Alex Jones & then re-deposited into same account on 12/19/2022.


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                      •    $25,000 (+ $25 wire fee) – out going wire on 09/27/2022. Bank is
                           still researching.
                       • $2,196.25 – outgoing wire to FSS that has now been removed.
                ▪ Have revised Unknown Payee for the $39,575.12 payment after
                   researching and revised to Austin Security Investigations Solutions, LLC.
        o 8. Within one year before you filed for bankruptcy.
                ▪ Transfers to Carol Jones from PLJR, LLC. Were removed after it was
                   discovered that PLJR, LLC is a company not wholly owned by Jones or
                   any of his wholly owned entities or self-settled trusts.
                ▪ In approximately 2016, Dr. David Jones took possession of 3 vehicles and
                   a piece of real estate upon AEJ paying off the lien upon such real estate
                   held by K. Jones pursuant to their divorce decree. It was not until 4/14/22
                   that the deed for the real estate showing such transfer was recorded.
                   Moreover, the title transfer of the vehicles was not recorded until
                   10/12/22, though Dr. David Jones had long since taken possession, and
                   been paying taxes and registration for such vehicles.
•   Part 5
        o 13. Within two years before you filed for bankruptcy.
                ▪ Gift cards for children for holidays under $3,000 each.
•   Part 7
        o 19. On April 5, 2022, proceeds of $3,252,925.49 from the sale of house (Cedar
            Oaks) went into The Missouri779384 Trust.
        o 21. Safe deposit box
                ▪ On March 24, 2023, contents of safe deposit box were viewed.
                ▪ It contained one (1) rubber band.
        o 22. Storage units
                ▪ Added two additional storage units at Public Storage on Lamar Blvd.
                ▪ All units viewed by UCC and UST representatives.
        o 23. Do you hold or control any property that someone else owns.
                ▪ Holding firearms for certain January 6th participants
                       • Sam Montoya
                                o Smith & Wesson – M&P 15-22
                       • Owen Shroyer
                                o Ruger – Security – 9
                                o Falkor Defense – FD – 9s
                                o Sig Sauer – SIGM400
                                o Storger Coach Gun – Coach gun 12GA 3” chamber
•   Part 11
        o 27. Within 4 years Before you filed for Bankruptcy, any limited liability company
            for which you had a membership interest
                ▪ Added Magnolia Management, LLC
                ▪ Added Magnolia Holdings, Limited Partnership
                ▪ Added AEJ Austin Holdings, LLC


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         ▪   Added Prison Planet TV, LLC
         ▪   Added Planet Infowars, LLC
         ▪   Added A. Emric Productions, LLC
         ▪   Added Austin Shiprock Publishing, LLC
         ▪   Added Infowars, k/n/a InfoW, LLC
         ▪   There is a company called End Hate LLC that came up in a search that is
             owned by an individual with a similar name to AEJ, but this is not an
             entity in which AEJ has a membership interest.




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 Fill in this information to identify your case and this filing:

  Debtor 1                    Alexander                E.                  Jones
                             First Name               Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)        First Name               Middle Name          Last Name


                                                                                                                                         ✔
                                                                      Southern District of Texas
                                                                                                                                         ❑
  United States Bankruptcy Court for the:
                                                                                                                                               Check if this is an
  Case number                           22-33553                                                                                               amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                 12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where
you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
     ❑ No. Go to Part 2.
     ✔ Yes. Where is the property?
     ❑
     1.1     (see Motion to Seal, Dkt No. 230)                   What is the property? Check all that apply.         Do not deduct secured claims or exemptions. Put the
            Street address, if available, or other description   ✔ Single-family home
                                                                 ❑                                                   amount of any secured claims on Schedule D: Creditors

                                                                 ❑ Duplex or multi-unit building
                                                                                                                     Who Have Claims Secured by Property.

                                                                 ❑ Condominium or cooperative                       Current value of the         Current value of the

             Austin, TX 78735                                    ❑ Manufactured or mobile home                      entire property?             portion you own?

            City                          State     ZIP Code     ✔ Land
                                                                 ❑                                                          $3,266,000.00                 $1,633,000.00
                                                                 ❑ Investment property                              Describe the nature of your ownership interest
             Travis
            County
                                                                 ❑ Timeshare                                        (such as fee simple, tenancy by the entireties, or a
                                                                 ❑ Other                                            life estate), if known.

                                                                 Who has an interest in the property? Check one.    Fee Simple
                                                                 ❑ Debtor 1 only
                                                                 ❑ Debtor 2 only                                    ❑ Check if this is community property
                                                                 ❑ Debtor 1 and Debtor 2 only                          (see instructions)
                                                                 ✔ At least one of the debtors and another
                                                                 ❑
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




Official Form 106A/B                                                                Schedule A/B: Property                                                    page 1
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 Debtor 1                 Alexander                   E.                            Jones                                                         Case number (if known) 22-33553
                          First Name                  Middle Name                    Last Name



      1.2     Rental Property - WW                                      What is the property? Check all that apply.                              Do not deduct secured claims or exemptions. Put the
             Street address, if available, or other description         ✔ Single-family home
                                                                        ❑                                                                        amount of any secured claims on Schedule D: Creditors

                                                                        ❑ Duplex or multi-unit building
                                                                                                                                                 Who Have Claims Secured by Property.
              (see Motion to Seal, Dkt. No. 230)
                                                                        ❑ Condominium or cooperative                                           Current value of the          Current value of the
              Austin, TX 78745                                          ❑ Manufactured or mobile home                                          entire property?              portion you own?
             City                             State        ZIP Code     ✔ Land
                                                                        ❑                                                                                    $505,000.00                $505,000.00
                                                                        ❑ Investment property                                                  Describe the nature of your ownership interest
              Travis
             County
                                                                        ❑ Timeshare                                                            (such as fee simple, tenancy by the entireties, or a
                                                                        ❑ Other                                                                life estate), if known.

                                                                        Who has an interest in the property? Check one.                         Fee Simple
                                                                        ✔ Debtor 1 only
                                                                        ❑
                                                                        ❑ Debtor 2 only                                                        ❑ Check if this is community property
                                                                        ❑ Debtor 1 and Debtor 2 only                                               (see instructions)

                                                                        ❑ At least one of the debtors and another
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:


      1.3     Lake House (Lake Travis)                                  What is the property? Check all that apply.                              Do not deduct secured claims or exemptions. Put the
             Street address, if available, or other description         ✔ Single-family home
                                                                        ❑                                                                        amount of any secured claims on Schedule D: Creditors

                                                                        ❑ Duplex or multi-unit building
                                                                                                                                                 Who Have Claims Secured by Property.
              (see Motion to Seal, Dkt. No. 230)
                                                                        ❑ Condominium or cooperative                                           Current value of the          Current value of the
              Austin, TX 78745                                          ❑ Manufactured or mobile home                                          entire property?              portion you own?
             City                             State        ZIP Code     ✔ Land
                                                                        ❑                                                                                 $1,750,000.00               $1,750,000.00
                                                                        ❑ Investment property                                                  Describe the nature of your ownership interest
              Travis
             County
                                                                        ❑ Timeshare                                                            (such as fee simple, tenancy by the entireties, or a
                                                                        ❑ Other                                                                life estate), if known.

                                                                        Who has an interest in the property? Check one.                         Fee Simple
                                                                        ✔ Debtor 1 only
                                                                        ❑
                                                                        ❑ Debtor 2 only                                                        ❑ Check if this is community property
                                                                        ❑ Debtor 1 and Debtor 2 only                                               (see instructions)

                                                                        ❑ At least one of the debtors and another
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................       ➜       $3,888,000.00




Official Form 106A/B                                                                            Schedule A/B: Property                                                                    page 2
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 Debtor 1             Alexander          E.                      Jones                                     Case number (if known) 22-33553
                      First Name         Middle Name             Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
     ❑ No
     ✔ Yes
     ❑
     3.1 Make:                      Ford               Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put the

                                    Expedition
                                                       ✔ Debtor 1 only
                                                       ❑                                                  amount of any secured claims on Schedule D: Creditors

                                                       ❑ Debtor 2 only
         Model:                                                                                           Who Have Claims Secured by Property.


         Year:
                                    2017               ❑ Debtor 1 and Debtor 2 only                      Current value of the         Current value of the

                                    99,300             ❑ At least one of the debtors and another         entire property?             portion you own?
         Approximate mileage:                                                                                        $21,463.00                   $21,463.00

         Other information:                            ❑ Check if this is community property
                                                          (see instructions)




    If you own or have more than one, list here:

     3.2 Make:                      Dodge              Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put the

                                    Challenger
                                                       ✔ Debtor 1 only
                                                       ❑                                                  amount of any secured claims on Schedule D: Creditors

                                                       ❑ Debtor 2 only
         Model:                                                                                           Who Have Claims Secured by Property.


         Year:
                                    2019               ❑ Debtor 1 and Debtor 2 only                      Current value of the         Current value of the

                                    15,000             ❑ At least one of the debtors and another         entire property?             portion you own?
         Approximate mileage:                                                                                        $67,575.00                   $67,575.00

         Other information:                            ❑ Check if this is community property
            Hellcat Redeye                                (see instructions)




     3.3 Make:                      Dodge              Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put the

                                    Charger
                                                       ✔ Debtor 1 only
                                                       ❑                                                  amount of any secured claims on Schedule D: Creditors

                                                       ❑ Debtor 2 only
         Model:                                                                                           Who Have Claims Secured by Property.


         Year:
                                    2020               ❑ Debtor 1 and Debtor 2 only                      Current value of the         Current value of the

                                    5,000              ❑ At least one of the debtors and another         entire property?             portion you own?
         Approximate mileage:                                                                                        $70,618.00                   $70,618.00

         Other information:                            ❑ Check if this is community property
            Hellcat                                       (see instructions)




Official Form 106A/B                                                      Schedule A/B: Property                                                   page 3
                          Case 22-33553 Document 231 Filed in TXSB on 03/30/23 Page 20 of 57

 Debtor 1             Alexander            E.                      Jones                                      Case number (if known) 22-33553
                      First Name           Middle Name             Last Name



       3.4 Make:                      Chevrolet          Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put the

                                      Tahoe
                                                         ✔ Debtor 1 only
                                                         ❑                                                   amount of any secured claims on Schedule D: Creditors

                                                         ❑ Debtor 2 only
           Model:                                                                                            Who Have Claims Secured by Property.


           Year:
                                      2020               ❑ Debtor 1 and Debtor 2 only                       Current value of the         Current value of the

                                      34,734             ❑ At least one of the debtors and another          entire property?             portion you own?
           Approximate mileage:                                                                                         $60,034.00                   $60,034.00

           Other information:                            ❑ Check if this is community property
            Believed was leased, but lease was              (see instructions)
            purchased/paid off
            VIN: 1GNSCCKJ5LR294493



       3.5 Make:                      Glaston            Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put the

                                      GS209
                                                         ✔ Debtor 1 only
                                                         ❑                                                   amount of any secured claims on Schedule D: Creditors

                                                         ❑ Debtor 2 only
           Model:                                                                                            Who Have Claims Secured by Property.


           Year:
                                      2003               ❑ Debtor 1 and Debtor 2 only                       Current value of the         Current value of the
                                                         ❑ At least one of the debtors and another          entire property?             portion you own?
           Approximate mileage:                                                                                         $23,500.00                   $23,500.00

           Other information:                            ❑ Check if this is community property
                                                            (see instructions)




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        ❑ No
        ✔ Yes
        ❑

       4.1 Make:                       Regal Boats       Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put the

                                        28 Express
                                                         ✔ Debtor 1 only
                                                         ❑                                                   amount of any secured claims on Schedule D: Creditors

                                                         ❑ Debtor 2 only
           Model:                                                                                            Who Have Claims Secured by Property.


           Year:
                                          2016           ❑ Debtor 1 and Debtor 2 only                       Current value of the         Current value of the
                                                         ❑ At least one of the debtors and another          entire property?             portion you own?
           Other information:                                                                                           $67,015.00                   $67,015.00
            Rarely Used. Stored in a marina stack        ❑ Check if this is community property
            system (Safe Harbor Emerald Point -             (see instructions)
            Lake Travis)




      If you own or have more than one, list here:


       4.2 Make:                       Regal Boats       Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put the

                                        24 Fasdeck
                                                         ✔ Debtor 1 only
                                                         ❑                                                   amount of any secured claims on Schedule D: Creditors

                                                         ❑ Debtor 2 only
           Model:                                                                                            Who Have Claims Secured by Property.


           Year:
                                          2015           ❑ Debtor 1 and Debtor 2 only                       Current value of the         Current value of the
                                                         ❑ At least one of the debtors and another          entire property?             portion you own?
           Other information:                                                                                           $47,285.00                   $47,285.00
            Rarely used. Stored in a marina stack        ❑ Check if this is community property
            system (Safe Harbor Emerald Point -             (see instructions)
            Lake Travis)




Official Form 106A/B                                                        Schedule A/B: Property                                                    page 4
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 Debtor 1                 Alexander                   E.                            Jones                                                         Case number (if known) 22-33553
                          First Name                  Middle Name                    Last Name



 5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
    you have attached for Part 2. Write that number here.........................................................................................................    ➜          $357,490.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                      Current value of the
                                                                                                                                                                         portion you own?
                                                                                                                                                                         Do not deduct secured
                                                                                                                                                                         claims or exemptions.

 6. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                             Furniture, rugs, artwork and grill (see attached).
                                                                                                                                                                                    $11,955.00


 7. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe........
       ❑
                                             Television, monitor (see attached).                                                                                                      $660.00



 8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

       ❑ No
       ✔ Yes. Describe........
       ❑
                                             44 U.S. Silver (Morgan Dollar) coins (see attached).                                                                                    $1,680.00



 9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe........
       ❑
                                             Treadmill and 3 Electric Bikes (see attached).                                                                                          $2,385.00



 10. Firearms
        Examples: Pistols, rifles, shotguns, ammunition, and related equipment

        ❑ No
        ✔ Yes. Describe........
        ❑
                                             54 guns - appraisal conducted by Mike Cargill of Central Texas Gun Works, a licensed FFL (see
                                             attached).
                                                                                                                                                                                    $73,744.00



 11.    Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                             Clothes (see attached).                                                                                                                  $300.00



 12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                  silver

        ❑ No
        ✔ Yes. Describe........
        ❑
                                             19 Watches, 1 pair cufflinks (see attached).                                                                                           $54,622.00




Official Form 106A/B                                                                            Schedule A/B: Property                                                              page 5
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 Debtor 1                    Alexander                      E.                                 Jones                                                                    Case number (if known) 22-33553
                             First Name                      Middle Name                       Last Name



 13. Non-farm animals
        Examples: Dogs, cats, birds, horses

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                  1 Ragdoll cat - approx. 2 years old (see attached).                                                                                                         $200.00



 14. Any other personal and household items you did not already list, including any health aids you did not list

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                  See Attached.
                                                                                                                                                                                                            $25,990.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here........................................................................................................................................➜                          $171,536.00



 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                  Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                                               claims or exemptions.


 16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        ❑ No
        ✔ Yes........................................................................................................................................................
        ❑                                                                                                                                                                Cash..............
                                                                                                                                                                                                            $12,000.00


 17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                  and other similar institutions. If you have multiple accounts with the same institution, list each.
        ❑ No
        ✔ Yes..................
        ❑
                                                          Institution name:
        17.1. Checking account:                             Prosperity Bank #9175                                                                                                                    $57,403.38

        17.2. Checking account:                             Bank of America #6078 Alexander E. Jones POA David R. Jones                                                                              $21,291.31

        17.3. Checking account:                             Bank of America #2913 Alexander Jones DBA Magnolia Management,                                                                           $10,499.75
                                                            Infowars, Jones Productions

        17.4. Checking account:                             JPMorgan Chase #7518 Alexander E. Jones                                                                                                  $57,498.11

        17.5. Checking account:                             JPMorgan Chase #3520 Alexander E. Jones                                                                                                   $1,206.43

        17.6. Checking account:                             PNC Bank #5233 Alexander Jones # 22-33553 DIP                                                                                            $25,591.04

        17.7. Checking account:                             Security Bank of Crawford #8548 Alexander Emric Jones                                                                                    $37,527.77

 18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        ✔ No
        ❑
        ❑ Yes..................
        Institution or issuer name:




Official Form 106A/B                                                                                         Schedule A/B: Property                                                                         page 6
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 Debtor 1                Alexander             E.              Jones                                         Case number (if known) 22-33553
                         First Name            Middle Name     Last Name



 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
     an LLC, partnership, and joint venture

      ❑ No
      ✔ Yes. Give specific
      ❑
            information about
            them...................
      Name of entity:                                                           % of ownership:


      A. Emric Productions, LLC (tax forfeiture 01-28-2011)                    100             %                         $0.00


      Magnolia Holdings Limited Partnership, LLC                               100             %                         $0.00


      Magnolia Management, LLC                                                 100             %                         $0.00


      Austin Shiprock Publishing, LLC (tax forfeiture 03-10-2023)              100             %                         $0.00


      Planet Infowars, LLC (tax forfeiture 03-10-2023)                         100             %                         $0.00


      RCGJ, LLC                                                                100             %                         $0.00


      Free Speech Systems, LLC                                                 100             %                         $0.00


      AEJ Austin Holdings, LLC                                                 100             %                    $10,000.00


      Guadalupe County Land and Water LLC                                      100             %                         $0.00


      Emric Productions LLC (no entity filing found)                           100             %                       $485.27


      Jones Report, LLC (prisonplanet.com + jonesreport.com)                   100             %                     $7,302.00


      Jones Productions, LLC                                                   100             %                         $0.00


 20. Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

      ❑ No
      ✔ Yes. Give specific
      ❑
            information about
            them...................

      Issuer name:

      Crypto Currency wallet which had a value of $0 at filing, received a donation on                                   $0.00
      12-03-2022. As of 12-03-2022 the balance was $304.00.

 21. Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      ✔ No
      ❑
      ❑ Yes. List each
            account separately.
      Type of account:                Institution name:




Official Form 106A/B                                                    Schedule A/B: Property                                                 page 7
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 Debtor 1              Alexander               E.                   Jones                                      Case number (if known) 22-33553
                       First Name              Middle Name           Last Name



      401(k) or similar plan:


      Pension plan:


      IRA:


      Retirement account:


      Keogh:


      Additional account:


 22. Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies,
      or others

      ❑ No
      ✔ Yes.....................
      ❑
                               Institution name or individual:

      Other:                       Per Premarital Agreement - Erika Jones                                          $179,764.00


      Other:                       Alex Jones Legal Fund - GiveSendGo (the funds from this                          $64,247.00
                                   compaign will be received by Pattis & Smith, LLC).


      Other:                       Prepaid Legal - Norm Pattis of the Pattis & Smith Law Firm                         $1,000.00

 23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

      ✔ No
      ❑
      ❑ Yes.....................
      Issuer name and description:




 24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      ✔ No
      ❑
      ❑ Yes.....................
      Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):




 25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for
     your benefit

      ❑ No
      ✔ Yes. Give specific
      ❑                                      See Attached.
            information about them....                                                                                                       $2,658,350.00




Official Form 106A/B                                                         Schedule A/B: Property                                              page 8
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 Debtor 1              Alexander                 E.                    Jones                                      Case number (if known) 22-33553
                       First Name                 Middle Name          Last Name



 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      ✔ No
      ❑
      ❑ Yes. Give specific
            information about them....


 27. Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                professional licenses
      ✔ No
      ❑
      ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                               Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.


 28. Tax refunds owed to you

      ❑ No
      ✔ Yes. Give specific information about
      ❑                                                   2021 | Anticipated refund is based on AEJ's 2021 Form 1040 Federal:                         $3,807,459.00
                 them, including whether you              that was filed March 29, 2023.
                 already filed the returns and                                                                       State:
                 the tax years.......................
                                                                                                                     Local:



 29. Family support
      Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

      ✔ No
      ❑
      ❑ Yes. Give specific information..........                                                                     Alimony:

                                                                                                                     Maintenance:

                                                                                                                     Support:

                                                                                                                     Divorce settlement:

                                                                                                                     Property settlement:



 30. Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                Social Security benefits; unpaid loans you made to someone else

      ❑ No
      ✔ Yes. Give specific information..........
      ❑                                                   Unpaid wages under contract - Free Speech Systems, LLC ("FSS"). Post FSS
                                                          bankruptcy filing 9 payrolls (08-10-2022 - 12-02-2022)                                        $270,000.00




 31. Interests in insurance policies
      Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

      ❑ No
      ✔ Yes. Name the insurance company
      ❑                                                     Company name:                                 Beneficiary:                      Surrender or refund value:
                 of each policy and list its value....
                                                            Lincoln Benefits Life Insurance Policy        Policy has been requested.                              $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                     page 9
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 Debtor 1                 Alexander                    E.                             Jones                                                         Case number (if known) 22-33553
                          First Name                   Middle Name                    Last Name




                                                                      CMFG Life Insurance Policy                                          Kelly Jones                                            $0.00


 32. Any interest in property that is due you from someone who has died
        If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
        property because someone has died.
        ✔ No
        ❑
        ❑ Yes. Give specific information..........



 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
        Examples: Accidents, employment disputes, insurance claims, or rights to sue

        ❑ No
        ✔ Yes. Describe each claim................
        ❑                                                         Reeves Law, P.C.
                                                                                                                                                                                         unknown



 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
     to set off claims

        ❑ No
        ✔ Yes. Describe each claim................
        ❑                                                         See Attached.
                                                                                                                                                                                         unknown



 35. Any financial assets you did not already list

        ❑ No
        ✔ Yes. Give specific information..........
        ❑                                                         Unclaimed Property (see attached)
                                                                                                                                                                                         $6,395.67



 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here..................................................................................................................................➜          $7,228,020.73



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37. Do you own or have any legal or equitable interest in any business-related property?
        ❑ No. Go to Part 6.
        ✔ Yes. Go to line 38.
        ❑
                                                                                                                                                                             Current value of the
                                                                                                                                                                             portion you own?
                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                             claims or exemptions.

 38. Accounts receivable or commissions you already earned

        ❑ No
        ✔ Yes. Describe........
        ❑
                                             Mountain Way Marketing, LLC (owned by John Haarmann; owed to Debtor for marketing fees and
                                             personal appearance fees) - turned over by March 30, 2023 to FSS.                                                                        $143,999.00

 39. Office equipment, furnishings, and supplies
        Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

        ✔ No
        ❑
        ❑ Yes. Describe........



Official Form 106A/B                                                                              Schedule A/B: Property                                                               page 10
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 Debtor 1                 Alexander                    E.                             Jones                                                         Case number (if known) 22-33553
                          First Name                   Middle Name                    Last Name



 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

        ✔ No
        ❑
        ❑ Yes. Describe........

 41. Inventory

        ❑ No
        ✔ Yes. Describe........
        ❑
                                             Debtor purchased inventory - purchased supplements from Hi-Tech Pharmaceuticals, a dietary
                                             supplement industry leader in pre-workouts, diet & energy/weight loss, and strength & muscle                                             $760,854.48
                                             building. Inventory cost was $760,854. Product was being marketed through a marketing
                                             agreement by and between AEJ, ESG and FSS.


 42. Interests in partnerships or joint ventures

        ❑ No
        ✔ Yes. Describe........
        ❑
        Name of entity:                                                                                     % of ownership:

         Please see entities under #19 which includes values.                                               100                  %                             unknown


 43. Customer lists, mailing lists, or other compilations
        ✔ No
        ❑
        ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                ✔ No
                ❑
                ❑ Yes. Describe........

 44. Any business-related property you did not already list

        ✔ No
        ❑
        ❑ Yes. Give specific
             information.........




 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.................................................................................................................................➜             $904,853.48



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
        ❑ No. Go to Part 7.
        ✔ Yes. Go to line 47.
        ❑
                                                                                                                                                                            Current value of the
                                                                                                                                                                            portion you own?
                                                                                                                                                                            Do not deduct secured
                                                                                                                                                                            claims or exemptions.

 47. Farm animals
        Examples: Livestock, poultry, farm-raised fish
        ✔ No
        ❑
        ❑ Yes.........................




Official Form 106A/B                                                                              Schedule A/B: Property                                                               page 11
                                 Case 22-33553 Document 231 Filed in TXSB on 03/30/23 Page 28 of 57

 Debtor 1                  Alexander                    E.                               Jones                                                           Case number (if known) 22-33553
                           First Name                    Middle Name                     Last Name



 48. Crops—either growing or harvested

        ✔ No
        ❑
        ❑ Yes. Give specific
             information.............


 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

        ❑ No
        ✔ Yes..........................
        ❑                                      Inoperable CAT bull dozer and inoperable Ford dump truck. Please see global notes for pictures of
                                               each.                                                                                                                                            $0.00


 50. Farm and fishing supplies, chemicals, and feed

        ✔ No
        ❑
        ❑ Yes..........................


 51. Any farm- and commercial fishing-related property you did not already list

        ❑ No
        ✔ Yes. Give specific
        ❑                                      Acreage in Guadalupe County Texas purchased 05/15/2020.
             information.............                                                                                                                                                  $2,189,220.00


 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
     for Part 6. Write that number here...................................................................................................................................➜            $2,189,220.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership

        ❑ No
        ✔ Yes. Give specific
        ❑                                      Access to helicopter service - non-transferable. Up to eight (8) trips per year for a term of fifteen
                                                                                                                                                                                                $0.00

             information.............          years in exchange for a one-time payment of $335,000 dated 03-03-21 from FSS, check #10635
                                                                                                                                                                                              $915.00
                                               [value: $0.00]
                                               Alex Was Right (Give/Send/Go) [value: $915.00]



 54. Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                   $915.00



 Part 8: List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2..........................................................................................................................................➜      $3,888,000.00


 56. Part 2: Total vehicles, line 5                                                                            $357,490.00


 57. Part 3: Total personal and household items, line 15                                                       $171,536.00


 58. Part 4: Total financial assets, line 36                                                                $7,228,020.73


 59. Part 5: Total business-related property, line 45                                                          $904,853.48


 60. Part 6: Total farm- and fishing-related property, line 52                                              $2,189,220.00




Official Form 106A/B                                                                                 Schedule A/B: Property                                                                page 12
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 Debtor 1                Alexander                  E.                           Jones                                                     Case number (if known) 22-33553
                         First Name                 Middle Name                  Last Name



 61. Part 7: Total other property not listed, line 54                                 +                    $915.00


 62. Total personal property. Add lines 56 through 61..............                              $10,852,035.21            Copy personal property total➜             +   $10,852,035.21




 63. Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................       $14,740,035.21




Official Form 106A/B                                                                        Schedule A/B: Property                                                            page 13
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 Debtor 1           Alexander            E.                     Jones                                         Case number (if known) 22-33553
                    First Name           Middle Name            Last Name



                                                       SCHEDULE A/B: PROPERTY
                                                                   Continuation Page

 14. Any other personal and household items you did not already list, including any health aids you did not list
      Sunglasses and prescription glasses (see attached).                                                                                             $845.00
      Cryoniq Cryogenic chamber (see attached)                                                                                                       $4,000.00
      Lake House (furniture, fixtures, household goods, recreational equipment - see attachment).                                                   $21,145.00

 25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      Recharge Dynasty Trust                                                                                                                             $0.00
      2022 Litigation Settlement Trust                                                                                                              $66,935.00
      RXXCTTGAA Trust                                                                                                                              $828,300.00
      Green Leaf Trust                                                                                                                             $127,094.00
      AEJ 2018 Trust                                                                                                                                $10,002.00
      The Missouri779384 Trust                                                                                                                      $54,519.00
      Alexander E. Jones Descendent and Beneficiary Trust                                                                                      $1,571,500.00

 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
     to set off claims
      Youngevity International, Inc.                                                                                                                 unknown
      Elevated Solutions Group, LLC                                                                                                                  unknown




Official Form 106A/B                                                     Schedule A/B: Property
                            Case 22-33553 Document 231 Filed in TXSB on 03/30/23 Page 31 of 57

 Fill in this information to identify your case:

  Debtor 1                    Alexander            E.                Jones
                              First Name           Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name       Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                          22-33553                                                                                    ✔
                                                                                                                                   ❑   Check if this is an
  (if known)                                                                                                                           amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount.
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on             Current value of the      Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                     portion you own
                                                           Copy the value from       Check only one box for each exemption.
                                                           Schedule A/B
 Brief description:
                                                                                     ✔
                                                                                     ❑            $1,633,000.00               Const. art. 16 §§ 50, 51, Texas Prop.
 (see Motion to Seal, Dkt No. 230) Austin, TX                       $1,633,000.00
 78735                                                                               ❑   100% of fair market value, up        Code §§ 41.001-.002
                                                                                         to any applicable statutory limit
 Line from
 Schedule A/B:          1.1

 Brief description:
                                                                                     ✔
                                                                                     ❑              $11,955.00                Tex. Prop. Code §§ 42.001(a),
 Furniture, rugs, artwork and grill (see attached).                    $11,955.00
                                                                                     ❑   100% of fair market value, up        42.002(a)(1)
 Line from                                                                               to any applicable statutory limit
 Schedule A/B:          6


 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ❑ No
      ✔ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
      ❑
        ❑✔ No
        ❑ Yes




Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                    page 1 of 3
                            Case 22-33553 Document 231 Filed in TXSB on 03/30/23 Page 32 of 57

 Debtor 1             Alexander          E.                    Jones                                         Case number (if known) 22-33553
                      First Name         Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on         Current value of the    Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                 portion you own
                                                       Copy the value from     Check only one box for each exemption.
                                                       Schedule A/B
 Brief description:
                                                                               ✔
                                                                               ❑                $660.00                  Tex. Prop. Code §§ 42.001(a),
 Television, monitor (see attached).                                 $660.00
                                                                               ❑   100% of fair market value, up         42.002(a)(1)
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                               ✔
                                                                               ❑               $1,680.00                 Tex. Prop. Code §§ 42.001(a),
 44 U.S. Silver (Morgan Dollar) coins (see                         $1,680.00
 attached).                                                                    ❑   100% of fair market value, up         42.002(a)(1)
                                                                                   to any applicable statutory limit
 Line from
 Schedule A/B:         8

 Brief description:
                                                                               ✔
                                                                               ❑               $2,385.00                 Tex. Prop. Code §§ 42.001(a),
 Treadmill and 3 Electric Bikes (see attached).                    $2,385.00
                                                                               ❑   100% of fair market value, up         42.002(a)(8)
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         9

 Brief description:
                                                                               ✔
                                                                               ❑                 $0.00                   Tex. Prop. Code §§ 42.001(a),
 54 guns - appraisal conducted by Mike Cargill of                 $73,744.00
 Central Texas Gun Works, a licensed FFL (see                                  ❑   100% of fair market value, up         42.002(a)(7)
 attached).                                                                        to any applicable statutory limit

 Line from
 Schedule A/B:        10

 Brief description:
                                                                               ✔
                                                                               ❑                $300.00                  Tex. Prop. Code §§ 42.001(a),
 Clothes (see attached).                                             $300.00
                                                                               ❑   100% of fair market value, up         42.002(a)(5)
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                               ✔
                                                                               ❑              $12,500.00                 Tex. Prop. Code §§ 42.001(a),
 19 Watches, 1 pair cufflinks (see attached).                     $54,622.00
                                                                               ❑   100% of fair market value, up         42.002(a)(6)
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:        12

 Brief description:
                                                                               ✔
                                                                               ❑                $200.00                  Tex. Prop. Code §§ 42.001(a),
 1 Ragdoll cat - approx. 2 years old (see attached).                 $200.00
                                                                               ❑   100% of fair market value, up         42.002(a)(11)
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:        13




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                               page 2 of 3
                           Case 22-33553 Document 231 Filed in TXSB on 03/30/23 Page 33 of 57

 Debtor 1             Alexander         E.                    Jones                                         Case number (if known) 22-33553
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the    Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from     Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                              ✔
                                                                              ❑                $845.00                  Tex. Prop. Code § 42.001(b)(2)
 Sunglasses and prescription glasses (see                           $845.00
 attached).                                                                   ❑   100% of fair market value, up
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:        14
                                                                              ✔
                                                                              ❑                 $0.00                   Tex. Prop. Code §§ 42.001(a),
                                                                              ❑   100% of fair market value, up         42.002(a)(1)
                                                                                  to any applicable statutory limit




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                               page 3 of 3
                             Case 22-33553 Document 231 Filed in TXSB on 03/30/23 Page 34 of 57

 Fill in this information to identify your case:

  Debtor 1                       Alexander               E.                    Jones
                                 First Name              Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name          Last Name

  United States Bankruptcy Court for the:                                Southern District of Texas

  Case number                             22-33553                                                                                             ✔
                                                                                                                                               ❑    Check if this is an
  (if known)                                                                                                                                        amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and
case number (if known).
1. Do any creditors have claims secured by your property?
   ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ✔ Yes. Fill in all of the information below.
   ❑
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor                         Column A            Column B            Column C
    separately for each claim. If more than one creditor has a particular claim, list the other                       Amount of claim     Value of            Unsecured
    creditors in Part 2. As much as possible, list the claims in alphabetical order according to the                  Do not deduct the   collateral that     portion
    creditor’s name.                                                                                                  value of            supports this       If any
                                                                                                                      collateral.         claim

 2.1 Bank of America                                          Describe the property that secures the claim:                $34,883.11          $505,000.00                $0.00
      Creditor's Name
                                                               Rental Property - WW
      PO Box 31785                                             (see Motion to Seal, Dkt. No. 230) Austin, TX 78745
      Number            Street
      Tampa, FL 33631-3785                                    As of the date you file, the claim is: Check all that
      City                        State       ZIP Code        apply.
      Who owes the debt? Check one.                           ❑ Contingent
      ❑ Debtor 1 only                                         ✔ Unliquidated
                                                              ❑
      ❑ Debtor 2 only                                         ❑ Disputed
      ❑ Debtor 1 and Debtor 2 only                            Nature of lien. Check all that apply.
      ✔ At least one of the debtors and
      ❑                                                       ✔ An agreement you made (such as mortgage
                                                              ❑
          another                                                or secured car loan)
      ❑ Check if this claim relates to a                      ❑ Statutory lien (such as tax lien, mechanic's
          community debt                                         lien)
      Date debt was incurred                                  ❑ Judgment lien from a lawsuit
      05/2020                                                 ❑ Other (including a right to offset)
                                                              Last 4 digits of account number

       Remarks: Debt was incurred May, 2020 assumed when purchased. Co-debtor is Dr. Jones.



      Add the dollar value of your entries in Column A on this page. Write that number here:                                     $34,883.11




Official Form 106D                                             Schedule D: Creditors Who Have Claims Secured by Property                                            page 1 of 2
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 Debtor 1                Alexander          E.                      Jones                                         Case number (if known) 22-33553
                         First Name         Middle Name             Last Name


                                                                                                            Column A             Column B          Column C
                Additional Page
                                                                                                            Amount of claim      Value of          Unsecured
  Part 1:       After listing any entries on this page, number them beginning with                          Do not deduct the    collateral that   portion
                2.3, followed by 2.4, and so forth.                                                         value of             supports this     If any
                                                                                                            collateral.          claim


 2.2                                                Describe the property that secures the claim:
       Creditor's Name


       Number        Street
                                                    As of the date you file, the claim is: Check all that
                                                    apply.
                                                    ❑ Contingent
       City                    State   ZIP Code
       Who owes the debt? Check one.
       ❑ Debtor 1 only                              ❑ Unliquidated
       ❑ Debtor 2 only                              ❑ Disputed
       ❑ Debtor 1 and Debtor 2 only                 Nature of lien. Check all that apply.
       ❑ At least one of the debtors and            ❑ An agreement you made (such as mortgage
          another                                         or secured car loan)
       ❑ Check if this claim relates to a           ❑ Statutory lien (such as tax lien, mechanic's
          community debt                                  lien)

       Date debt was incurred
                                                    ❑ Judgment lien from a lawsuit
                                                    ❑ Other (including a right to offset)
                                                    Last 4 digits of account number
       Add the dollar value of your entries in Column A on this page. Write that number here:                                   $0.00
       If this is the last page of your form, add the dollar value totals from all pages. Write that number            $34,883.11
       here:




Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2 of 2
                          Case 22-33553 Document 231 Filed in TXSB on 03/30/23 Page 36 of 57
 Fill in this information to identify your case:

  Debtor 1                  Alexander              E.                Jones
                            First Name             Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                        22-33553                                                                                          ✔
                                                                                                                                       ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other
party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form
106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that
are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in
the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
     claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
     amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
     fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                             Total       Priority       Nonpriority
                                                                                                                             claim       amount         amount

2.1      Internal Revenue Service                                                                                             $558,984.64 $558,984.64             $0.00
                                                                   Last 4 digits of account number
        Priority Creditor's Name
                                                                   When was the debt incurred?
         Centralized Insolvency Office
                                                                   As of the date you file, the claim is: Check all that
         Po Box 7346                                               apply.
        Number          Street                                     ✔ Contingent
                                                                   ❑
         Philadelphia, PA 19101-7346                               ✔ Unliquidated
                                                                   ❑
        City                             State     ZIP Code        ✔ Disputed
                                                                   ❑
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑                                                          Type of PRIORITY unsecured claim:
                                                                   ❑ Domestic support obligations
        ❑ Debtor 2 only                                            ✔ Taxes and certain other debts you owe the
                                                                   ❑
        ❑ Debtor 1 and Debtor 2 only                                  government
        ❑ At least one of the debtors and another                  ❑ Claims for death or personal injury while you
        ❑ Check if this claim is for a community debt                 were intoxicated
                                                                   ❑ Other. Specify
        Is the claim subject to offset?
        ❑ No
        ✔ Yes
        ❑




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                             page 1 of 10
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 Debtor 1              Alexander            E.                     Jones                                            Case number (if known) 22-33553
                       First Name           Middle Name            Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
       ❑    No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       ✔
       ❑    Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part
     1. If more than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the
     Continuation Page of Part 2.
                                                                                                                                                   Total claim

 4.1    All Connecticut Plaintiffs                                                                                                                 $473,000,000.00
                                                                             Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                             When was the debt incurred?        2022
        c/o Ryan Chapple
        Cain & Skarnulis PLLC                                                As of the date you file, the claim is: Check all that apply.
                                                                             ✔ Contingent
                                                                             ❑
        303 Colorado St., STE. 2850
        Number          Street                                               ❑   Unliquidated
        Austin, TX 78701                                                     ✔
                                                                             ❑   Disputed
        City                            State    ZIP Code
                                                                             Type of NONPRIORITY unsecured claim:
        Who incurred the debt? Check one.                                    ❑ Student loans
        ❑ Debtor 1 only                                                      ❑   Obligations arising out of a separation agreement or
        ❑      Debtor 2 only                                                     divorce that you did not report as priority claims
        ❑      Debtor 1 and Debtor 2 only                                    ❑   Debts to pension or profit-sharing plans, and other
        ✔
        ❑                                                                    ✔
                                                                                 similar debts
               At least one of the debtors and another
                                                                             ❑
        ❑      Check if this claim is for a community debt
                                                                                 Other. Specify
                                                                                 Litigation Claim
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑      Yes

 4.2    Carlee Soto Parisi                                                                                                                           $66,000,000.00
                                                                             Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                             When was the debt incurred?        2022
        c/o Ryan Chapple
        Cain & Skarnulis PLLC                                                As of the date you file, the claim is: Check all that apply.
                                                                             ✔ Contingent
                                                                             ❑
        303 Colorado St, STE 2850
        Number          Street                                               ❑   Unliquidated
        Austin, TX 78701                                                     ✔
                                                                             ❑   Disputed
        City                            State    ZIP Code
                                                                             Type of NONPRIORITY unsecured claim:
        Who incurred the debt? Check one.                                    ❑ Student loans
        ❑ Debtor 1 only                                                      ❑   Obligations arising out of a separation agreement or
        ❑      Debtor 2 only                                                     divorce that you did not report as priority claims
        ❑      Debtor 1 and Debtor 2 only                                    ❑   Debts to pension or profit-sharing plans, and other
        ✔
        ❑                                                                    ✔
                                                                                 similar debts
               At least one of the debtors and another
                                                                             ❑
        ❑      Check if this claim is for a community debt
                                                                                 Other. Specify
                                                                                 Litigation Claim
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑      Yes

 4.3    Carlos M. Soto                                                                                                                               $57,600,000.00
                                                                             Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                             When was the debt incurred?        2022
        c/o Ryan Chapple
        Cain & Skarnulis PLLC                                                As of the date you file, the claim is: Check all that apply.
                                                                             ✔ Contingent
                                                                             ❑
        303 Colorado St, STE 2850
        Number          Street                                               ❑   Unliquidated
        Austin, TX 78701                                                     ✔
                                                                             ❑   Disputed
        City                            State    ZIP Code
                                                                             Type of NONPRIORITY unsecured claim:
        Who incurred the debt? Check one.                                    ❑ Student loans
        ❑ Debtor 1 only                                                      ❑   Obligations arising out of a separation agreement or
        ❑      Debtor 2 only                                                     divorce that you did not report as priority claims
        ❑      Debtor 1 and Debtor 2 only                                    ❑   Debts to pension or profit-sharing plans, and other
        ✔
        ❑                                                                    ✔
                                                                                 similar debts
               At least one of the debtors and another
                                                                             ❑
        ❑      Check if this claim is for a community debt
                                                                                 Other. Specify
                                                                                 Litigation Claim
         Is the claim subject to offset?
         ✔ No
         ❑
Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             page 2 of 10
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 Debtor 1             Alexander            E.                     Jones                                         Case number (if known) 22-33553
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                   Total claim

4.4     David Wheeler                                                                                                                        $55,000,000.00
                                                                          Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                          When was the debt incurred?        2022
        c/o Ryan Chapple
        Cain & Skarnulis PLLC                                             As of the date you file, the claim is: Check all that apply.

        303 Colorado St, STE 2850
                                                                          ✔
                                                                          ❑   Contingent
       Number          Street                                             ❑   Unliquidated
        Austin, TX 78701                                                  ✔
                                                                          ❑   Disputed
       City                            State    ZIP Code
                                                                          Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one.
                                                                          ❑
       ❑
                                                                              Student loans
              Debtor 1 only
                                                                          ❑
       ❑
                                                                              Obligations arising out of a separation agreement or
              Debtor 2 only                                                   divorce that you did not report as priority claims
       ❑      Debtor 1 and Debtor 2 only                                  ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                      similar debts
                                                                          ✔
              At least one of the debtors and another
       ❑                                                                  ❑   Other. Specify
              Check if this claim is for a community debt                     Litigation Claim
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes

4.5     Donna Soto                                                                                                                           $48,000,000.00
                                                                          Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                          When was the debt incurred?        2022
        c/o Ryan Chapple
        Cain & Skarnulis PLLC                                             As of the date you file, the claim is: Check all that apply.

        303 Colorado St, STE 2850
                                                                          ✔
                                                                          ❑   Contingent
       Number          Street                                             ❑   Unliquidated
        Austin, TX 78701                                                  ✔
                                                                          ❑   Disputed
       City                            State    ZIP Code
                                                                          Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one.
                                                                          ❑
       ❑
                                                                              Student loans
              Debtor 1 only
                                                                          ❑
       ❑
                                                                              Obligations arising out of a separation agreement or
              Debtor 2 only                                                   divorce that you did not report as priority claims
       ❑      Debtor 1 and Debtor 2 only                                  ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                      similar debts
                                                                          ✔
              At least one of the debtors and another
       ❑                                                                  ❑   Other. Specify
              Check if this claim is for a community debt                     Litigation Claim
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes

4.6     Erica Lafferty                                                                                                                       $76,000,000.00
                                                                          Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                          When was the debt incurred?        2022
        c/o Ryan Chapple
        Cain & Skarnulis PLLC                                             As of the date you file, the claim is: Check all that apply.

        303 Colorado St., STE 2850
                                                                          ✔
                                                                          ❑   Contingent
       Number          Street                                             ❑   Unliquidated
        Austin, TX 78701                                                  ✔
                                                                          ❑   Disputed
       City                            State    ZIP Code
                                                                          Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one.
                                                                          ❑
       ❑
                                                                              Student loans
              Debtor 1 only
                                                                          ❑
       ❑
                                                                              Obligations arising out of a separation agreement or
              Debtor 2 only                                                   divorce that you did not report as priority claims
       ❑      Debtor 1 and Debtor 2 only                                  ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                      similar debts
                                                                          ✔
              At least one of the debtors and another
       ❑                                                                  ❑   Other. Specify
              Check if this claim is for a community debt                     Litigation Claim
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes


Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                      page 3 of 10
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 Debtor 1             Alexander            E.                     Jones                                         Case number (if known) 22-33553
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                   Total claim

4.7     Francine Wheeler                                                                                                                     $54,000,000.00
                                                                          Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                          When was the debt incurred?        2022
        c/o Ryan Chapple
        Cain & Skarnulis PLLC                                             As of the date you file, the claim is: Check all that apply.

        303 Colorado St, STE 2850
                                                                          ✔
                                                                          ❑   Contingent
       Number          Street                                             ❑   Unliquidated
        Austin, TX 78701                                                  ✔
                                                                          ❑   Disputed
       City                            State    ZIP Code
                                                                          Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one.
                                                                          ❑
       ❑
                                                                              Student loans
              Debtor 1 only
                                                                          ❑
       ❑
                                                                              Obligations arising out of a separation agreement or
              Debtor 2 only                                                   divorce that you did not report as priority claims
       ❑      Debtor 1 and Debtor 2 only                                  ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                      similar debts
                                                                          ✔
              At least one of the debtors and another
       ❑                                                                  ❑   Other. Specify
              Check if this claim is for a community debt                     Litigation Claim
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes

4.8     Ian Hockley                                                                                                                          $81,600,000.00
                                                                          Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                          When was the debt incurred?        2022
        c/o Ryan Chapple
        Cain & Skarnulis PLLC                                             As of the date you file, the claim is: Check all that apply.

        303 Colorado St, STE 2850
                                                                          ✔
                                                                          ❑   Contingent
       Number          Street                                             ❑   Unliquidated
        Austin, TX 78701                                                  ✔
                                                                          ❑   Disputed
       City                            State    ZIP Code
                                                                          Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one.
                                                                          ❑
       ❑
                                                                              Student loans
              Debtor 1 only
                                                                          ❑
       ❑
                                                                              Obligations arising out of a separation agreement or
              Debtor 2 only                                                   divorce that you did not report as priority claims
       ❑      Debtor 1 and Debtor 2 only                                  ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                      similar debts
                                                                          ✔
              At least one of the debtors and another
       ❑                                                                  ❑   Other. Specify
              Check if this claim is for a community debt                     Litigation Claim
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes

4.9     Jacqueline Barden                                                                                                                    $28,800,000.00
                                                                          Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                          When was the debt incurred?        2022
        c/o Ryan Chapple
        Cain & Skarnulis PLLC                                             As of the date you file, the claim is: Check all that apply.

        303 Colorado St, STE 2850
                                                                          ✔
                                                                          ❑   Contingent
       Number          Street                                             ❑   Unliquidated
        Austin, TX 78701                                                  ✔
                                                                          ❑   Disputed
       City                            State    ZIP Code
                                                                          Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one.
                                                                          ❑
       ❑
                                                                              Student loans
              Debtor 1 only
                                                                          ❑
       ❑
                                                                              Obligations arising out of a separation agreement or
              Debtor 2 only                                                   divorce that you did not report as priority claims
       ❑      Debtor 1 and Debtor 2 only                                  ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                      similar debts
                                                                          ✔
              At least one of the debtors and another
       ❑                                                                  ❑   Other. Specify
              Check if this claim is for a community debt                     Litigation Claim
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes


Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                      page 4 of 10
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 Debtor 1             Alexander            E.                     Jones                                             Case number (if known) 22-33553
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                       Total claim

4.10    Jennifer Hensel                                                                                                                          $52,000,000.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        2022
        c/o Ryan Chapple
        Cain & Skarnulis PLLC                                                 As of the date you file, the claim is: Check all that apply.

        303 Colorado St, STE 2850
                                                                              ✔
                                                                              ❑   Contingent
       Number          Street                                                 ❑   Unliquidated
        Austin, TX 78701                                                      ✔
                                                                              ❑   Disputed
       City                            State    ZIP Code
                                                                              Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one.
                                                                              ❑
       ❑
                                                                                  Student loans
              Debtor 1 only
                                                                              ❑
       ❑
                                                                                  Obligations arising out of a separation agreement or
              Debtor 2 only                                                       divorce that you did not report as priority claims
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                          similar debts
                                                                              ✔
              At least one of the debtors and another
       ❑                                                                      ❑   Other. Specify
              Check if this claim is for a community debt                         Litigation Claim
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes

4.11    Jillian Soto-Marino                                                                                                                      $68,800,000.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        2022
        c/o Ryan Chapple
        Cain & Skarnulis PLLC                                                 As of the date you file, the claim is: Check all that apply.

        303 Colorado St, STE 2850
                                                                              ✔
                                                                              ❑   Contingent
       Number          Street                                                 ❑   Unliquidated
        Austin, TX 78701                                                      ✔
                                                                              ❑   Disputed
       City                            State    ZIP Code
                                                                              Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one.
                                                                              ❑
       ❑
                                                                                  Student loans
              Debtor 1 only
                                                                              ❑
       ❑
                                                                                  Obligations arising out of a separation agreement or
              Debtor 2 only                                                       divorce that you did not report as priority claims
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                          similar debts
                                                                              ✔
              At least one of the debtors and another
       ❑                                                                      ❑   Other. Specify
              Check if this claim is for a community debt                         Litigation Claim
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes

4.12    Kelly Rebecca Jones                                                                                                                                  $0.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        Unknown
        12250 Trautwein Rd.
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.

        Austin, TX 78737
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Unknown
       ❑      Yes




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 Debtor 1             Alexander            E.                     Jones                                             Case number (if known) 22-33553
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                       Total claim

4.13    Marcel Fontaine, Leonard Pozner and Vernonique De La                                                                                           unknown
                                                                              Last 4 digits of account number
        Rosa
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        Unknown

        c/o Jarrod B. Martin                                                  As of the date you file, the claim is: Check all that apply.
        Chamberlain Hrdlicka                                                  ✔
                                                                              ❑   Contingent
        1200 Smith Street, STE. 1400                                          ❑   Unliquidated
       Number          Street
                                                                              ✔
                                                                              ❑   Disputed
        Houston, TX 77002
       City                            State    ZIP Code                      Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one.                                      ❑   Student loans
       ❑      Debtor 1 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑
                                                                                  divorce that you did not report as priority claims
              Debtor 2 only
                                                                              ❑   Debts to pension or profit-sharing plans, and other
       ❑      Debtor 1 and Debtor 2 only                                          similar debts
       ✔
       ❑      At least one of the debtors and another                         ✔
                                                                              ❑   Other. Specify
       ❑      Check if this claim is for a community debt
                                                                                  Litigation Claim

       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes

4.14    Mark Barden                                                                                                                              $57,600,000.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        2022
        c/o Ryan Chapple
        Cain & Skarnulis PLLC                                                 As of the date you file, the claim is: Check all that apply.

        303 Colorado St, STE 2850
                                                                              ✔
                                                                              ❑   Contingent
       Number          Street                                                 ❑   Unliquidated
        Austin, TX 78701                                                      ✔
                                                                              ❑   Disputed
       City                            State    ZIP Code
                                                                              Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one.
                                                                              ❑
       ❑
                                                                                  Student loans
              Debtor 1 only
                                                                              ❑
       ❑
                                                                                  Obligations arising out of a separation agreement or
              Debtor 2 only                                                       divorce that you did not report as priority claims
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                          similar debts
                                                                              ✔
              At least one of the debtors and another
       ❑                                                                      ❑   Other. Specify
              Check if this claim is for a community debt                         Litigation Claim
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes

4.15    Neil Heslin                                                                                                                               $2,110,000.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        2022
        c/o Jarrod B. Martin
        Chamberlain Hrdlicka                                                  As of the date you file, the claim is: Check all that apply.

        1200 Smith Street, STE 1400
                                                                              ✔
                                                                              ❑   Contingent
       Number          Street                                                 ❑   Unliquidated
        Houston, TX 77002                                                     ✔
                                                                              ❑   Disputed
       City                            State    ZIP Code
                                                                              Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one.
                                                                              ❑
       ❑
                                                                                  Student loans
              Debtor 1 only
                                                                              ❑
       ❑
                                                                                  Obligations arising out of a separation agreement or
              Debtor 2 only                                                       divorce that you did not report as priority claims
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                          similar debts
                                                                              ✔
              At least one of the debtors and another
       ❑                                                                      ❑   Other. Specify
              Check if this claim is for a community debt                         Litigation Claim
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes

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 Debtor 1             Alexander            E.                     Jones                                             Case number (if known) 22-33553
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                       Total claim

4.16    Nicole Hockley                                                                                                                           $73,600,000.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        2022
        c/o Ryan Chapple
        Cain & Skarnulis PLLC                                                 As of the date you file, the claim is: Check all that apply.

        303 Colorado St, STE 2850
                                                                              ✔
                                                                              ❑   Contingent
       Number          Street                                                 ❑   Unliquidated
        Austin, TX 78701                                                      ✔
                                                                              ❑   Disputed
       City                            State    ZIP Code
                                                                              Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one.
                                                                              ❑
       ❑
                                                                                  Student loans
              Debtor 1 only
                                                                              ❑
       ❑
                                                                                  Obligations arising out of a separation agreement or
              Debtor 2 only                                                       divorce that you did not report as priority claims
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                          similar debts
                                                                              ✔
              At least one of the debtors and another
       ❑                                                                      ❑   Other. Specify
              Check if this claim is for a community debt                         Litigation Claim
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes

4.17    Robert Parker                                                                                                                           $120,000,000.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        2022
        c/o Ryan Chapple
        Cain & Skarnulis                                                      As of the date you file, the claim is: Check all that apply.

        303 Colorado St, STE 2850
                                                                              ✔
                                                                              ❑   Contingent
       Number          Street                                                 ❑   Unliquidated
        Austin, TX 78701                                                      ✔
                                                                              ❑   Disputed
       City                            State    ZIP Code
                                                                              Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one.
                                                                              ❑
       ❑
                                                                                  Student loans
              Debtor 1 only
                                                                              ❑
       ❑
                                                                                  Obligations arising out of a separation agreement or
              Debtor 2 only                                                       divorce that you did not report as priority claims
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                          similar debts
                                                                              ✔
              At least one of the debtors and another
       ❑                                                                      ❑   Other. Specify
              Check if this claim is for a community debt                         Litigation Claim
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes

4.18    Scarlett Lewis                                                                                                                           $26,700,000.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        2022
        c/o Jarrod B. Martin
        Chamberlain Hrdlicka                                                  As of the date you file, the claim is: Check all that apply.

        1200 Smith Street, STE 1400
                                                                              ✔
                                                                              ❑   Contingent
       Number          Street                                                 ❑   Unliquidated
        Houston, TX 77002                                                     ✔
                                                                              ❑   Disputed
       City                            State    ZIP Code
                                                                              Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one.
                                                                              ❑
       ❑
                                                                                  Student loans
              Debtor 1 only
                                                                              ❑
       ❑
                                                                                  Obligations arising out of a separation agreement or
              Debtor 2 only                                                       divorce that you did not report as priority claims
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                          similar debts
                                                                              ✔
              At least one of the debtors and another
       ❑                                                                      ❑   Other. Specify
              Check if this claim is for a community debt                         Litigation Claim
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes


Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 7 of 10
                         Case 22-33553 Document 231 Filed in TXSB on 03/30/23 Page 43 of 57
 Debtor 1             Alexander            E.                     Jones                                             Case number (if known) 22-33553
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                       Total claim

4.19    Scarlett Lewis and Neil Heslin                                                                                                           $22,500,000.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        2022
        c/o Jarrod B. Martin
        Chamberlain Hrdlicka                                                  As of the date you file, the claim is: Check all that apply.

        1200 Smith Street, STE. 1400
                                                                              ✔
                                                                              ❑   Contingent
       Number          Street                                                 ❑   Unliquidated
        Houston, TX 77002                                                     ✔
                                                                              ❑   Disputed
       City                            State    ZIP Code
                                                                              Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one.
                                                                              ❑
       ❑
                                                                                  Student loans
              Debtor 1 only
                                                                              ❑
       ❑
                                                                                  Obligations arising out of a separation agreement or
              Debtor 2 only                                                       divorce that you did not report as priority claims
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                          similar debts
                                                                              ✔
              At least one of the debtors and another
       ❑                                                                      ❑   Other. Specify
              Check if this claim is for a community debt                         Litigation Claim
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes

4.20    Security Bank of Crawford                                                                                                                     $72,466.68
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        11/13/2020
        3550 S. General Bruce Dr., Bldg. I
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.

        Temple, TX 76504
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Motor home loan. Debtor is a guarantor on the
       ❑      Yes
                                                                                  Note.

4.21    William Aldenberg                                                                                                                        $90,000,000.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        2022
        c/o Ryan Chapple
        Cain & Skarnulis PLLC                                                 As of the date you file, the claim is: Check all that apply.

        303 Colorado St, STE 2850
                                                                              ✔
                                                                              ❑   Contingent
       Number          Street                                                 ❑   Unliquidated
        Austin, TX 78701                                                      ✔
                                                                              ❑   Disputed
       City                            State    ZIP Code
                                                                              Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one.
                                                                              ❑
       ❑
                                                                                  Student loans
              Debtor 1 only
                                                                              ❑
       ❑
                                                                                  Obligations arising out of a separation agreement or
              Debtor 2 only                                                       divorce that you did not report as priority claims
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                          similar debts
                                                                              ✔
              At least one of the debtors and another
       ❑                                                                      ❑   Other. Specify
              Check if this claim is for a community debt                         Litigation Claim
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 8 of 10
                         Case 22-33553 Document 231 Filed in TXSB on 03/30/23 Page 44 of 57
 Debtor 1             Alexander            E.                     Jones                                             Case number (if known) 22-33553
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                       Total claim

4.22    William Sherlach                                                                                                                         $36,000,000.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        2022
        c/o Ryan Chapple
        Cain & Skarnulis PLLC                                                 As of the date you file, the claim is: Check all that apply.

        303 Colorado St, STE 2850
                                                                              ✔
                                                                              ❑   Contingent
       Number          Street                                                 ❑   Unliquidated
        Austin, TX 78701                                                      ✔
                                                                              ❑   Disputed
       City                            State    ZIP Code
                                                                              Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one.
                                                                              ❑
       ❑
                                                                                  Student loans
              Debtor 1 only
                                                                              ❑
       ❑
                                                                                  Obligations arising out of a separation agreement or
              Debtor 2 only                                                       divorce that you did not report as priority claims
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                          similar debts
                                                                              ✔
              At least one of the debtors and another
       ❑                                                                      ❑   Other. Specify
              Check if this claim is for a community debt                         Litigation Claim
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 9 of 10
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 Debtor 1          Alexander              E.                    Jones                                     Case number (if known) 22-33553
                   First Name             Middle Name           Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts
     for each type of unsecured claim.




                                                                                         Total claim


                   6a. Domestic support obligations                           6a.                             $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the              6b.                      $558,984.64
                       government

                   6c. Claims for death or personal injury while you          6c.                             $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.        6d.   +                         $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                        6e.                       $558,984.64




                                                                                         Total claim


                   6f. Student loans                                          6f.                             $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                6g.                             $0.00
                       agreement or divorce that you did not report
                       as priority claims

                   6h. Debts to pension or profit-sharing plans, and          6h.                             $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured             6i.   +            $1,489,382,466.68
                       claims. Write that amount here.

                   6j. Total. Add lines 6f through 6i.                        6j.                 $1,489,382,466.68




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                    page 10 of 10
                            Case 22-33553 Document 231 Filed in TXSB on 03/30/23 Page 46 of 57

 Fill in this information to identify your case:

     Debtor 1                Alexander             E.                Jones
                            First Name             Middle Name       Last Name

     Debtor 2
     (Spouse, if filing)    First Name             Middle Name       Last Name

     United States Bankruptcy Court for the:                     Southern District of Texas

     Case number                       22-33553                                                                                       ✔
                                                                                                                                      ❑    Check if this is an
     (if known)                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                          State what the contract or lease is for

2.1                                                                                           4 Units - Household
        Cubesmart
        Name
        6130 E. Ben White Blvd.
        Number     Street
        Austin, TX 78741
        City                             State     ZIP Code

2.2                                                                                           Agreement to design, production conception, marketing and fulfilment of
        Elevated Solutions Group, LLC                                                         dietary supplement products.
        Name                                                                                  Contract to be REJECTED
        211 E. 7th Street, Suite 620
        Number      Street
        Austin, TX 78701-3218
        City                             State     ZIP Code

2.3                                                                                           Employment Agreement
        Free Speech Systems, LLC
        Name
        c/o Ray Battaglia, 66 Granburg Circle
        Number      Street
        San Antonio, TX 78218-3010
        City                       State           ZIP Code

2.4                                                                                           Premarital Agreement
        Erika Wulff Jones                                                                     Contract to be ASSUMED
        Name
                                     230)
        (see Motion to Seal, Dkt. No__]
        Number      Street
        Austin, TX 78735
        City                             State     ZIP Code




Official Form 106G                                        Schedule G: Executory Contracts and Unexpired Leases                                              page 1 of 2
                           Case 22-33553 Document 231 Filed in TXSB on 03/30/23 Page 47 of 57

 Debtor 1            Alexander              E.                    Jones                                       Case number (if known) 22-33553
                     First Name             Middle Name           Last Name


             Additional Page if You Have More Contracts or Leases


      Person or company with whom you have the contract or lease                      State what the contract or lease is for

2.5                                                                                    Verbal contract for marketing and personal appearances.
      Mountain Way Marketing, LLC                                                      Contract to be: REJECTED
      Name
      (see Motion to Seal, Dkt. No. 230)
      Number      Street

      City                          State        ZIP Code
2.6                                                                                    2 Units - Household
      Public Storage                                                                   Contract to be:
      Name
      1800 S. Lamar Blvd.
      Number      Street
      Austin, TX 78704
      City                          State        ZIP Code
2.7                                                                                    2 Units - Household
      Public Storage Ben White                                                         Contract to be:
      Name
      2301 E. Ben White Blvd.
      Number      Street
      Austin, TX 78741
      City                          State        ZIP Code
2.8                                                                                    3 Units - Household
      Public Storage Westlake                                                          Contract to be:
      Name
      6726 RM 2244
      Number      Street
      Austin, TX 78746
      City                          State        ZIP Code
2.

      Name

      Number      Street

      City                          State        ZIP Code
2.

      Name

      Number      Street

      City                          State        ZIP Code
2.

      Name

      Number      Street

      City                          State        ZIP Code
2.

      Name

      Number      Street

      City                          State        ZIP Code




Official Form 106G                                        Schedule G: Executory Contracts and Unexpired Leases                                   page 1 of 2
                                 Case 22-33553 Document 231 Filed in TXSB on 03/30/23 Page 48 of 57

 Fill in this information to identify your case:

  Debtor 1                       Alexander              E.                Jones
                                 First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)            First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                            Southern District of Texas

  Case number                             22-33553                                                                                    ✔
                                                                                                                                      ❑    Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                       12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing
together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries
in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer
every question.
 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑ No
        ✔ Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California,
        Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ❑ No. Go to line 3.
        ✔ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑
          ❑ No
          ✔ Yes. In which community state or territory did you live? Texas
          ❑                                                                                                 . Fill in the name and current address of that person.
                 Jones, Erika Wulff
                Name of your spouse, former spouse, or legal equivalent
                 (see Motion to Seal, Dkt. No. 230)
                Number           Street


                City                                  State   ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2
        again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                             Column 2: The creditor to whom you owe the debt
                                                                                                           Check all schedules that apply:
3.1
      Free Speech Systems, LLC                                                                             ❑ Schedule D, line
      Name                                                                                                                      4.1, 4.2, 4.3,
      c/o Ray Battaglia, 66 Granburg Circle                                                                                     4.4, 4.5, 4.6,
      Number            Street                                                                                                  4.7, 4.8, 4.9,
      San Antonio, TX 78218-3010                                                                                                4.10, 4.11,
      City                                    State   ZIP Code                                                                  4.13, 4.14,
                                                                                                                                4.15, 4.16,
                                                                                                                                4.17, 4.18,
                                                                                                                                4.19, 4.21,
                                                                                                           ✔ Schedule E/F, line 4.22
                                                                                                           ❑
                                                                                                           ❑ Schedule G, line
3.2
      Jones, David
                                                                                                           ✔ Schedule D, line 2.1
                                                                                                           ❑
      Name
      c/o of Stephen A. Roberts, 1400 Marshall Ln.
                                                                                                           ❑ Schedule E/F, line
      Number            Street                                                                             ❑ Schedule G, line
      Austin, TX 78703-3407
      City                                    State   ZIP Code



Official Form 106H                                                           Schedule H: Your Codebtors                                                     Page 1 of 1
                          Case 22-33553 Document 231 Filed in TXSB on 03/30/23 Page 49 of 57

 Fill in this information to identify your case:

  Debtor 1                  Alexander              E.                Jones
                           First Name              Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name       Last Name                                                Check if this is:

  United States Bankruptcy Court for the:                        Southern District of Texas
                                                                                                                              ✔ An amended filing
                                                                                                                              ❑
                                                                                                                              ❑ A supplement showing postpetition
  Case number                        22-33553                                                                                    chapter 13 income as of the following date:
  (if known)

                                                                                                                                 MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                              Debtor 1                                             Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status            ✔ Employed ❑ Not Employed
                                                                          ❑                                                               ✔ Not Employed
                                                                                                                               ❑ Employed ❑
     attach a separate page with
     information about additional            Occupation                   Media Personality
     employers.
                                             Employer's name              Free Speech Systems, LLC
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address           66 Grandbury Circle
     Occupation may include student                                        Number Street                                        Number Street
     or homemaker, if it applies.
                                                                          c/o Raymond Battaglia




                                                                          Austin, TX 78218-3010
                                                                           City                     State      Zip Code         City                State     Zip Code
                                             How long employed there? 2008 - Present



 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1      For Debtor 2 or
                                                                                                                          non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.            2.               $43,333.00                     $0.00

 3. Estimate and list monthly overtime pay.                                                3.   +                $0.00    +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                           4.               $43,333.00                     $0.00




Official Form 106I                                                         Schedule I: Your Income                                                                 page 1
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 Debtor 1                 Alexander                    E.                              Jones                                         Case number (if known) 22-33553
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.           $43,333.00                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.          $15,513.00                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.               $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.               $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.               $0.00                    $0.00
       5e. Insurance                                                                                           5e.           $1,107.00                    $0.00
       5f. Domestic support obligations                                                                        5f.           $2,000.00                    $0.00
       5g. Union dues                                                                                          5g.               $0.00                    $0.00

       5h. Other deductions. Specify:                                                                          5h.   +           $0.00        +           $0.00

 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.           $18,620.00                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.           $24,713.00                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.           $1,200.00                    $0.00
       8b. Interest and dividends                                                                              8b.               $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.               $0.00              $25,183.00
       8d. Unemployment compensation                                                                           8d.               $0.00                    $0.00
       8e. Social Security                                                                                     8e.               $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                           8f.               $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.               $0.00                    $0.00

       8h. Other monthly income. Specify: Income from All Other Sources                                        8h.   +     $103,300.00        +           $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.          $104,500.00               $25,183.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.         $129,213.00    +          $25,183.00         =        $154,396.00

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +               $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.           $154,396.00

                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
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 Debtor 1            Alexander      E.            Jones                             Case number (if known) 22-33553
                     First Name     Middle Name   Last Name


   8a. Attached Statement
                                                          Rental Income

       1.   Gross Monthly Income:                                                                                     $1,200.00

       2.   TOTAL EXPENSES                                                                                               $0.00

       3.   AVERAGE NET MONTHLY INCOME                                                                                $1,200.00




Official Form 106I                                        Schedule I: Your Income                                         page 3
                          Case 22-33553 Document 231 Filed in TXSB on 03/30/23 Page 52 of 57

 Fill in this information to identify your case:

  Debtor 1                  Alexander               E.                   Jones
                           First Name               Middle Name         Last Name                                Check if this is:
                                                                                                                 ✔ An amended filing
                                                                                                                 ❑
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name                                ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                          Southern District of Texas
                                                                                                                      MM / DD / YYYY
  Case number                        22-33553
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Child                               14                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               5                        ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                      4.                          $0.00


     If not included in line 4:
                                                                                                                                4a.                 $4,577.00
     4a. Real estate taxes
                                                                                                                                4b.                   $948.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                4c.                 $7,450.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                4d.
     4d. Homeowner's association or condominium dues                                                                                                       $58.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
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 Debtor 1             Alexander             E.                    Jones                                      Case number (if known) 22-33553
                      First Name            Middle Name           Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                          $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                  $1,050.00

       6b. Water, sewer, garbage collection                                                                        6b.                  $1,000.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                  $1,150.00

       6d. Other. Specify:                                                                                         6d.                         $0.00

 7.    Food and housekeeping supplies                                                                              7.                   $5,100.00

 8.    Childcare and children’s education costs                                                                    8.                  $14,417.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                     $500.00

 10. Personal care products and services                                                                           10.                    $700.00

 11.   Medical and dental expenses                                                                                 11.                  $1,000.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                  $1,500.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                  $3,500.00

 14. Charitable contributions and religious donations                                                              14.                         $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                   $165.00
       15a. Life insurance
       15b. Health insurance                                                                                       15b.                        $0.00

       15c. Vehicle insurance                                                                                      15c.                 $1,400.00

       15d. Other insurance. Specify:                                                                              15d.                        $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                         $0.00

 17. Installment or lease payments:
                                                                                                                   17a.                        $0.00
       17a. Car payments for Vehicle 1
                                                                                                                   17b.                        $0.00
       17b. Car payments for Vehicle 2
                                                                                                                   17c.                        $0.00
       17c. Other. Specify:
                                                                                                                   17d.                        $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                 $25,183.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                         $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                 $1,836.00
       20b. Real estate taxes                                                                                      20b.                 $1,417.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                   $358.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                 $1,500.00
       20e. Homeowner’s association or condominium dues                                                            20e.                   $800.00



Official Form 106J                                                          Schedule J: Your Expenses                                                  page 2
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 Debtor 1            Alexander           E.                    Jones                                        Case number (if known) 22-33553
                     First Name          Middle Name           Last Name



 21. Other. Specify:                          Storage                                                             21.     +             $1,765.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.                 $77,374.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                        $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.                 $77,374.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $154,396.00

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –            $77,374.00

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                 $77,022.00
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                    page 3
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 Fill in this information to identify your case:

  Debtor 1                      Alexander                   E.                       Jones
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                     Southern District of Texas

  Case number                               22-33553                                                                                                                     ✔
                                                                                                                                                                         ❑   Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                    $3,888,000.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                        $10,852,035.21

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                  $14,740,035.21



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                $34,883.11

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                    $558,984.64


    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                        +      $1,489,382,466.68


                                                                                                                                                  Your total liabilities             $1,489,976,334.43

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                  $154,396.00


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                 $77,374.00




Official Form 106Sum                                             Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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Debtor 1            Alexander             E.                     Jones                                           Case number (if known) 22-33553
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑   No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑   Yes



7. What kind of debt do you have?
   ❑   Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
   ✔
   ❑   Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                              Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                              25,183.00


                                                                                                                 558,984.64
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)



    9d. Student loans. (Copy line 6f.)



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                +


    9g. Total. Add lines 9a through 9f.                                                                          $584,167.64




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                  Alexander              E.                Jones
                            First Name             Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                        22-33553                                                                                       ✔
                                                                                                                                    ❑    Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                             12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                              . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                        Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Alex Jones
        Alex Jones, Debtor 1


        Date 03/30/2023
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
